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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

GOCLIPS LLC, and Z KEEPERS LLC,
Florida limited liability companies,

              Plaintiffs,                            Case No. 4:25-CV-00355
v.

ALONG TOOLS, INC, a Texas
corporation, and RIZHAO ALONG                        JURY TRIAL DEMANDED
ABRASIVE TOOLS CO., LTD doing
business as ALONG TOOLS INC, a
company formed and domiciled in the
People’s Republic of China,

            Defendants.
____________________________________/

                                    COMPLAINT

       Plaintiffs, GOCLIPS LLC (GoClips) and Z KEEPERS LLC (Z Keepers), for

their Complaint against Defendants ALONG TOOLS INC (“Along Tools Texas”),

a Texas corporation and RIZHAO ALONG ABRASIVE TOOLS CO., LTD doing

business as ALONG TOOLS (“Along Tools”) (collectively referred to as

“Defendants”), allege as follows:

                            NATURE OF THE ACTION

       1.    Plaintiffs manufacture, market, sell and distribute patented devices used

in anchoring sinks to the underside of hard countertop surfaces better known as

GoClips®. Patented GoClips® products include the following:




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      2.     Defendants have in the past and continue to unlawfully manufacture,

export into the United States, market, sell, and/or distribute counterfeit devices

within the United States that are substantially the same as Plaintiffs’ patented

GoClips® products. In addition, Defendants have infringed and diluted Plaintiff’s

trademark GoClips®, and have unlawfully used Plaintiffs’ trade dress consisting in

part of the product usage images and inherently distinctive shape and design of

Plaintiff’s GoClips sink anchors. In addition to damages, Plaintiffs seek to enjoin

Defendants’ further export and sale of the counterfeit devices from the People’s

Republic of China into the United States.

                                   THE PARTIES

      3.     Plaintiff, Z Keepers, is Florida limited liability company. Z Keepers

provides manufacturing services for sink-anchoring products for the granite

countertop industry, including GoClips® products. Z Keepers and GoClips are

collectively referred to herein as “Plaintiffs”.

      4.     Plaintiff, GoClips, is a Florida limited liability company. GoClips is a

distributor for sink-anchoring products for the granite countertop industry

manufactured through Plaintiff, Z Keepers.




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          5.   Defendant Along Tools Texas is a company formed and existing under

the laws of the State of Texas. Along Tools Texas imports into the United States,

markets, sells, and/or distributes counterfeit sink anchoring clips throughout the

United States that are identical in appearance, form and function to authentic

GoClips® anchoring clamps used to undermount sinks to countertop surfaces.

          6.   Defendant Along Tools is a company formed in the People’s Republic

of China and having its base of operations in the Shandong province of the People’s

Republic of China, and is believed to be an affiliated company to Defendant Along

Tools Texas, with common ownership and agents. Along Tools manufactures,

exports to the United States, markets, sells, and/or distributes throughout the United

States counterfeit sink anchoring clips that are identical in appearance, form and

function to authentic GoClips® anchoring clamps used to undermount sinks to

countertop surfaces.

                          JURISDICTION AND VENUE

          7.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

1331 and 1338(a) insofar as this is a civil action for patent infringement arising under

the Patent Act, 35 U.S.C. §§ 271 et seq., and for trademark infringement and false

designation of origin under sections 32 and 43 of the Lanham Act, 15 U.S.C. §§ 1051

et seq.




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       8.     This Court has personal jurisdiction over Defendants because

Defendants engaged in substantial and not isolated activity within Texas consisting

of the importing, marketing, sale and distribution of devices that infringe the patents

at issue in this Complaint and by infringing Plaintiffs’ registered trademark in Texas.

       9.     Venue is proper in the Southern District of Texas pursuant to 28 U.S.C.

§§ 1391(b)(1, 2) and 1400 insofar as (i) Defendants regularly conduct business in

this District, (iii) a substantial part of the events giving rise to this action occurred in

this District, and (iv) this case arises out of acts of infringement that Defendants

committed within this District.

                  FACTS COMMON TO THE CLAIMS PLED

                                    The ‘754 Patent

       10.    David Smith (“Smith”) is a graduate of Georgia Institute of Technology

and the inventor of GoClips® products.             Smith spent decades in the home

construction and remodeling industry, developing several products used by both

professional installers and DYI project enthusiasts used in anchoring sinks to

countertops. Smith filed the application for his invention, described as “Sink Clamp

and Methods”, on or about December 10, 2014.

       11.    On November 28, 2017, U.S. Patent No. 9,828,754 (the “‘754 patent”),

was issued by the United States Patent and Trademark Office (“USPTO”) in the




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name of David Smith, entitled “Sink Clamp and Methods.” A true copy of the ‘754

patent is attached as EXHIBIT A.

      12.    The ‘754 Patent describes and claims, among other things, a clamp and

clamping method for undermounting a sink to a hard surface. All right title and

interest in the ‘754 patent has been assigned to Z Keepers as recorded with the

USPTO.

      13.    Plaintiff, GoClips has been granted marketing, sale and distribution

rights for the invention claimed in the ‘754 patent.

      14.    Plaintiffs manufacture, market, sell and distribute GoClips® devices,

which duly embody the claims of the ‘754 patent, including those depicted in

paragraph 1 above.

      15.    Plaintiffs have advertised, marketed, and otherwise promoted the

GoClips® undermount sink anchors in print media, on the internet (see e.g.

https://www.youtube.com/watch?v=lxJU5LH8MkQ

      http://www.goclips.com/,         and       https://www.amazon.com/GoClips-5-

      Second-Anchors-Undermount-

      Sinks/dp/B00YT822FU/ref=sr_1_2?crid=NCCDZ3GVOLE2&keywords=goclips

      &qid=1692206302&sprefix=goclips%2Caps%2C119&sr=8-2,

as well as at tradeshows and through their distribution network. By virtue of

Plaintiffs’ promotion of the GoClips® products, they have become well known in



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the industry as associated with Plaintiffs, earning Plaintiffs valuable and residual

goodwill and reputation in the minds of industry participants for being the source for

GoClips® devices.

      16.    Plaintiffs have established unique marketing for GoClips® products

which consists of a combination of images and video clips showing these GoClips®

devices in use in different installation settings, employing the advertising slogan “5

second anchors”, and certain distinctive advertising verbiage on their ease of use.

Examples are:




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      17.    GoClips® devices are slot-based, sink anchors, which provide granite

manufacturers and installers, home improvement companies, plumbers and do-it-

yourself (DIY) consumers with a novel way to securely undermount sinks to granite

and other hard countertop surfaces, quickly, easily and inexpensively, without

interfering with under cabinet storage space. Because of their reliability, ease of use,

strength, nominal profile, and low cost, GoClips® devices quickly gained a foothold

among countertop manufacturers and installers, plumbers, sink installers, and DIY

consumers as a secure, efficient and low-cost way to undermount sinks to countertop

surfaces.




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      18.     Prior to patent grant, GoClips’ product packaging was marked “Patent

Pending” to notify buyers of the pending patent application.          Following the

USPTO’s issuance of the ‘754 patent, GoClips’ product packaging was modified to

reflect the patent number issued by the USPTO, and GoClips® have been so marked

ever since.

      19.     Defendants are manufacturers, marketers and/or distributors of tooling

and devices used in the fabrication and installation of granite and natural stone

countertops. Defendants have established a manufacturing and/or distribution niche

in the sink clip market space by copying the inventions of others, including Smith.

      20.     Defendants, acting in concert, have manufactured, marketed and

exported into the United States, knockoff devices which Defendants call “Quick

Clips”, and which are substantially similar to the patented GoClips® products from

Defendant Along Tools manufacturing facility in the mainland of the People’s

Republic of China. Defendants, acting in concert, then market, sell and distribute the

knockoff devices within the United States.




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      21.    Defendants’ Product Catalogue at page 2, which is attached as

EXHIBIT B depicts the knockoff devices as follows:




      22.    Upon information and belief, Defendants have exported into the United

States and distributed these knockoff devices to buyers within the United States. The

counterfeit sink anchoring clamps which Defendants manufacture, market, and

exports into the United States and sells throughout the United States embody the

claims of the ‘754 patent.

      23.    In size, shape, and appearance, these knockoff devices, which

Defendants manufacture, export into the United States, sell and distribute under the

name “Quick Clips” are the same in function and in substantially the same form to

authentic GoClips® devices.

      24.    Defendants’ misconduct described herein is knowing, willful and

deliberate. Defendants have purposefully targeted GoClips’ customers with

Defendants’ counterfeit sink anchors depicted above with a design to put Plaintiffs

out of business.




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      25.    Defendants have undercut Plaintiffs’ marketing, sales and distribution

efforts, sowing confusion in the United States by pumping counterfeit GoClips

products into the United States stream of commerce.

      26.    Defendants have taken unfair advantage of the goodwill that Plaintiffs

have established with GoClips® products in the United States, in order to trade upon

the trust consumers and market participants possess in the strength, speed and

efficacy of the GoClips® products.

      27.    Upon information and belief, Defendants continue to violate Plaintiffs’

rights with respect to the ‘754 patent and continues to damage Plaintiffs by exporting

into the United States, marketing, selling and distributing knockoff products under

the tradename “Quick Clips”, and upon information and belief, Defendants’

infringing conduct will continue if not enjoined.

      28.    Plaintiffs have been irreparably harmed by Defendants’ misconduct.

      29.    Plaintiffs have retained the undersigned counsel to represent them in

this action and have agreed to pay said counsel a reasonable fee.

      30.    All requisite conditions to the filing of this action have occurred or been

waived by Defendant.

            COUNT I – INFRINGEMENT OF THE ‘754 PATENT BY
                         ALONG TOOLS TEXAS

      31.    Plaintiffs adopt by reference paragraphs 1 through 30 of this Complaint

as though more fully set forth herein.


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      32.    This is an action for patent infringement against Defendant Along Tools

Texas pursuant to 35 U.S.C. §§ 271 et seq.

      33.    Defendant has willfully, deliberately, and intentionally infringed the

‘754 patent. Defendants’ infringing conduct constitutes literal infringement of the

‘754 patent and/or infringement under the doctrine of equivalents.

      34.    On information and belief, Defendant intends to continue its infringing

activities described herein.

      35.    Defendants’ knockoff products are near identical copies of Plaintiffs’

GoClips® devices, and Defendants’ knockoff products have no alternate, non-

infringing use.

      36.    Defendant has been placed on notice of the ‘754 patent and is on notice

of Plaintiffs’ GoClips® products, and yet continued to infringe the ‘754 patent.

      37.    Defendants’ acts as described above have been without right, license,

or permission from Plaintiffs.

      38.    Defendants’ willful, deliberate, and intentional infringement of the ‘754

patent has caused the Plaintiff irreparable harm and damages, including lost sales,

lost profits, lost sales opportunities, and loss of goodwill, in an amount to be

determined at trial.




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      39.     Defendants’ willful, deliberate, and intentional infringement of the ‘754

patent entitles the Plaintiffs to recover, among other things, their treble damages,

reasonable attorneys’ fees, and costs under 35 U.S.C. §§ 284 and 285.

      40.     Plaintiffs have no adequate remedy at law without the intervention of

this Court and monetary damages alone are insufficient to compensate Plaintiffs.

Accordingly, in addition to damages, Plaintiffs are entitled to preliminary and/or

permanent injunctive relief.

            COUNT II – INFRINGEMENT OF THE ‘754 PATENT BY
                             ALONG TOOLS

      41.     Plaintiffs adopt by reference paragraphs 1 through 30 of this Complaint

as though more fully set forth herein.

      42.     This is an action for patent infringement against Defendant Along Tools

pursuant to 35 U.S.C. §§ 271 et seq.

      43.     Defendant has willfully, deliberately, and intentionally infringed the

‘754 patent. Defendants’ infringing conduct constitutes literal infringement of the

‘754 patent and/or infringement under the doctrine of equivalents.

      44.     On information and belief, Defendant intends to continue its infringing

activities described herein.

      45.     Defendants’ knockoff products are near identical copies of Plaintiffs’

GoClips® devices, and Defendants’ knockoff products have no alternate, non-

infringing use.


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      46.    Defendants have been placed on notice of the ‘754 patent and is on

notice of Plaintiffs’ GoClips® products, and yet continued to infringe the ‘754 patent.

      47.    Defendants’ acts as described above have been without right, license,

or permission from Plaintiffs.

      48.    Defendants’ willful, deliberate, and intentional infringement of the ‘754

patent has caused the Plaintiff irreparable harm and damages, including lost sales,

lost profits, lost sales opportunities, and loss of goodwill, in an amount to be

determined at trial.

      49.    Defendants’ willful, deliberate, and intentional infringement of the ‘754

patent entitles the Plaintiffs to recover, among other things, their treble damages,

reasonable attorneys’ fees, and costs under 35 U.S.C. §§ 284 and 285.

      50.    Plaintiffs have no adequate remedy at law without the intervention of

this Court and monetary damages alone are insufficient to compensate Plaintiffs.

Accordingly, in addition to damages, Plaintiffs are entitled to preliminary and/or

permanent injunctive relief.

      WHEREFORE, Plaintiffs respectfully request that this Court:

      (i)    Enter judgment in favor of Plaintiffs and against Defendants for the

infringement of the ‘754 patent;

      (ii)   Enter judgment in favor of Plaintiffs and against Defendants for

willfully infringing the ‘754 patent;




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      (iii)   Enter judgment in favor of Plaintiffs and against Defendants for

damages for patent infringement under 35 U.S.C. § 284, pre and post judgment

interest, and awarding Plaintiff recovery of their costs;

      (iv)    Award Plaintiffs enhanced damages under 35 U.S.C. § 284 for

Defendants’ willful infringement of the ’754 patent;

      (v)     Award Plaintiffs recovery of their costs for bringing this lawsuit,

including litigation expenses, and expert witness fees as the prevailing party;

      (vi)    Enter an order declaring this case exceptional under 35 U.S.C. § 285

and a judgment in favor of Plaintiffs requiring Defendants to pay Plaintiffs

reasonable attorneys’ fees, litigation expenses, expert witness fees, and costs;

      (vii) Enter an order preliminarily enjoining and a judgment permanently

enjoining Defendant, Defendants’ officers, agents, employees, affiliates,

subsidiaries, franchisees, distributors, customs brokers, importers, customers and all

persons and entities acting in concert with the Defendant, or on behalf of the

Defendants from making, exporting to the United States, importing into the United

States, marketing, using, selling, offering for sale, or selling the counterfeit GoClips

products and any other product that infringes any claim of the ‘754 patent;

                             JURY TRIAL DEMAND

      Plaintiffs demand trial by jury on all issues so triable.




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                                     PIERSON FERDINAND, LLP

                                     /s/ William J. Akins
                                     William Akins, Esq.
                                     State Bar No. 24011972
                                     william.akins@pieferd.com
                                     2021 Guadalupe Street, Suite 260
                                     Austin, Texas 78705
                                     Telephone: (214) 924-9504

                                     and

                                     Charles G. Geitner, Esq.
                                     (to be admitted pro hac)
                                     Florida Bar No.: 85170
                                     charles.geitner@pierferd.com
                                     P.O. Box 1572
                                     Ruskin, Florida 33575-1572
                                     (813) 724-3140
                                     (813) 724-3179 (facsimile)
                                     Attorneys for Plaintiffs GoClips LLC
                                     and Z Keepers, LLC




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